            18-36815-cgm                Doc 5        Filed 10/30/18 Entered 10/30/18 15:42:07                       Ch 7 First Mtg
                                                            I/J No POC Pg 1 of 2
Information to identify the case:

Debtor 1:
                      Duane Taylor                                               Social Security number or ITIN:   xxx−xx−5464
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:             Tammara Lavender                                           Social Security number or ITIN:   xxx−xx−4994
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

United States Bankruptcy Court:        Southern District of New York             Date case filed for chapter:        7   10/29/18

Case number:           18−36815−cgm

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15




For the debtor(s) listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office and the office of the U.S. Trustee cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                     Duane Taylor                                         Tammara Lavender

2.        All other names used in the
          last 8 years

3.      Address                                  13 Mountain View Ave                                 13 Mountain View Ave
                                                 Saugerties, NY 12477                                 Saugerties, NY 12477

4.      Debtor's attorney                        Brian Juran                                          Contact phone 845−339−4313
                                                 654 Aaron Court                                      Email: juranlaw@msn.com
        Name and address                         Kingston, NY 12401

5.      Bankruptcy trustee                       Fred Stevens                                         Contact phone (212) 972−3000
                                                 Klestadt Winters Jureller                            Email: fstevens@klestadt.com
        Name and address                         Southard & Stevens, LLP
                                                 200 West 41st Street
                                                 17th Floor
                                                 New York, NY 10036
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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                                                          I/J No POC Pg 2 of 2
Debtor Duane Taylor and Tammara Lavender                                                                                      Case number 18−36815−cgm


6. Bankruptcy clerk's office                      355 Main Street                                                     Office Hours: Monday − Friday
                                                  Poughkeepsie, NY 12601                                              8:30 AM − 5:00 PM
    Documents in this case may be filed at this
    address. You may inspect all records filed    Clerk of the Bankruptcy Court:
    in this case at this office or online at                                                                          Contact phone 845−452−4200
    www.pacer.gov.                                Vito Genna                                                          Date: 10/30/18

7. Meeting of creditors                           November 29, 2018 at 01:15 PM                                       Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a later date.          Office of the United States
    questioned under oath. In a joint case,       If so, the date will be on the court docket. Debtor should          Trustee, 355 Main Street,
    both spouses must attend. Creditors may       bring this notice to the first meeting of creditors, together
    attend, but are not required to do so.        with any other documents requested by the trustee.                  Poughkeepsie, NY 12601


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                         Filing deadline: 1/28/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                   • if you assert that the debtor is not entitled to receive a discharge of any debts under any
                                                     of the subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                     or
                                                  • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                                   Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as                 conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                  it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
                                                  that you may file a proof of claim and stating the deadline.
    Please do not file a proof of claim unless
    you receive a notice to do so.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                  to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                  have any questions about your rights in this case.


12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                  distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                  the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                  exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.


13. Debtors                                       Duty to complete Financial Management Course and File Certificate: The Personal Financial Management
                                                  Course must be completed and Official Form 423 (Certification About a Financial Management Course)
                                                  must be filed within 60 days after the first date set for your section 341(a) meeting, pursuant to Bankruptcy
                                                  Rule 1007(c). Please note: You will not receive your discharge and your case will be closed without entry
                                                  of a discharge, if you do not file the form within the required time allotted. If you fail to file the Certification
                                                  About a Financial Management Course and your case is closed, you will be required to file a Motion to
                                                  Reopen the Case to allow for filing of the Certification, paying required fees, if any become due,
                                                  applicable to either the reopening of the case or filing of the motion.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                       page 2
